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                                      IN THE UNITED STATES DISTRICT COURT_
                                          FOR THE DISTRICT OF MARYLAND

     United States of America                                   *

                      v.                                        *                  Criminal Case No. RDB-17-0069

    HAROLD MARTIN                                               *
                                                            ******
                                               REGULAR SENTENCING             ORDER

               (I)         On or before 5/7/2019 (1101more 1111111
                                                                40 tllly"from Ihe tlole oflhis artier), the Probation


    Officer shall provide the initial draft of the presentence report to counsel for the Defendant for

    review with the Defendant. If the Defendant is in pretrial detention, defense counsel may not

    provide a copy of the recommendations section of the presentence report to the Defendant in

    advance of meeting to review the presentence report, and may not leave the recommendations

    section of the presentence report with the Defendant once the review has taken place. The

    Probation Officer shall also provide the initial draft of the presentence report to counsel for the

    Government.

               (2)         On or before 5/21/2019 (lIotlesHholl     14 tlaysfrom   tlale ill p"rogroph   I),   counsel shall

    submit, in writing, to the Probation Officer and opposing counsel, any objections to any material

    information, sentencing classifications, advisory sentencing guideline ranges, or policy

    statements contained in or omitted from the report.

               (3)         After receiving counsel's objections, the Probation Officer shall conduct any

    necessary further investigation and may require counsel for both parties to meet with the

    Probation Officer to discuss unresolved factual and legal issues. The Probation Officer shall

    make any revisions to the presentence report deemed proper, and, in the event that any objections

    made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting

    forth those objections and any comment thereon.


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               (4)        On or before 6/3/2019 (/lo//en /ha/l//           daysfrom   da/e;/I parllKraph 2),   the Probation

    Officer shall file the report (and any revisions and addendum thereto) through CM/ECF.

               (5)        If counsel for either party intends to call any witnesses at the sentencing hearing,

    counsel shall submit, in writing, to the Court and opposing counsel, on or before

    7/3/20/9    (/lot/ess 111011
                               14 dllYs hefore sell/elle/IIK),     a statement containing (a) the names of the

    witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the anticipated

    length of the hearing.

               (6)        Sentencing memoranda are not required unless a party intends to request a

    sentence outside the advisory guidelines range on the basis of a non-guideline factor. If

    submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before

    7/3/211/9 (llo//ess /ha/l /4 days hefore sell/ellcil/K).       Opposing or responding memoranda are not

    required. If submitted, they shall be delivered to chambers on or before

    7/10/211/9 (llo//es.' /hllll 7 dllYs' hefore sell/elle/IIK).   Copies of all memoranda must be sent to the

    Probation Officer.

               (7)        Sentencing shall be on 7/17/2019 at 3:00 PM.

               (8)       The presentence report, any revisions, and any proposed findings made by the

    Probation Officer in the addendum to the report shall constitute the tentative findings of the

    Court under section 6A 1.3 of the sentencing guidelines. In resolving disputed issues of fact, the

    Court may consider any reliable information presented by the Probation Officer, the Defendant,

    or the Government, and the Court may issue its own tentative or final findings at any time before

    or during the sentencing hearing.




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           (9)       Nothing in this Order requires the disclosure of any portions of the presentence

report that are not disclosable under Federal Rules of Criminal Procedure 32.




March 28, 2019
Date
                                                           _/!-t.A.,L1I!r
                                                           Richard D. Bennett
                                                           United States District Judge




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